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                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MONTANA
                                       GREAT FALLS DIVISION

    UNITED STATES OF AMERICA,                                       CR 18-14-GF-BMM

                                                 Plaintiff,

                      vs.

    STANLEY PATRICK WEBER,                                          WRIT OF HABEAS CORPUS (For
                                                                    Testimony)

                                                 Defendant.



To:         United States Marshal, District of Montana and the Warden of Pennington
            County Jail

            YOU ARE HEREBY COMMANDED, to bring Daniel Joseph Martin who
is presently in your custody, before the Honorable Brian M. Morris, United States
District Judge of the United States District Court for the State and District of
Montana, at the courtroom of the United States District Court, Great Falls,
Montana at 8:30 a.m. on August 6, 2018, for such purposes as the court may
determine, and upon conclusion of all proceedings, Daniel Joseph Martin shall be
returned to the custody of the Warden of Pennington County Jail.




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            WITNESS the Honorable Brian M. Morris
            United States District Judge at Great Falls, Montana this 24th day of July,
2018.

                                                                Tyler P. Gilman, Clerk

                                                                Clerk




                                                                Deputy Clerk
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